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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                 CASE NO: 2:14-cr-2-FtM-38DNF

STEVEN JOSEPH RIZZA and
JONATHAN ROBERT MAUSE



                                         ORDER

      This matter comes before the Court on Defendant Jonathan Robert Mause’s oral

motion at the Final Pretrial Conference held on July 25, 2014. Trial is set to commence

on August 4, 2014. Pursuant to Mause’s indigent status, Mause seeks either real time

transcriptions or daily transcripts of the trial proceeding. Upon consideration, the Court

finds the request is due to be denied.

      Accordingly, it is

      ORDERED:

      Defendant Mause’s oral motion for either real time transcription or daily transcripts

of the trial proceeding is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this July 30, 2014.




Copies: Counsel of Record
